                                                 IT IS ORDERED
                                                 Date Entered on Docket: June 25, 2019




                                                 ________________________________
                                                 The Honorable David T. Thuma
                                                 United States Bankruptcy Judge
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